                                            Case 3:22-cv-02646-LB Document 37 Filed 06/08/22 Page 1 of 3




                                   1                                          UNITED STATES DISTRICT COURT

                                   2                                      NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4            Laura Loomer et al.                         ,           Case No. 3:22-cv-02646-LB
                                                             Plaintiff(s),
                                   5
                                                                                                        APPLICATION FOR ADMISSION OF
                                                     v.                                                 ATTORNEY PRO HAC VICE
                                   6
                                                                                                        (CIVIL LOCAL RULE 11-3)
                                                Facebook, Inc. et al.                       ,
                                   7
                                                             Defendant(s).
                                   8

                                   9

                                  10            I,   Emily Barnet                        , an active member in good standing of the bar of

                                  11    the New York Court of Appeals                    , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing:             Meta Platforms, Inc. (f/k/a Facebook, Inc.) and Mark Zuckerberg
                                                                                                                                                                               in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is              Sonal N. Mehta                                                  , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     222086
                                       within the State of California. Local co-counsels bar number is: _________________.

                                  16   7 World Trade Center, 250 Greenwich Street, New York, NY 10007   2600 El Camino Real, Suite 400 Palo Alto, CA 94306
                                  17    MY ADDRESS OF RECORD                                            LOCAL CO-COUNSELS ADDRESS OF RECORD

                                  18   (212) 230-8800                                                   (650) 858-6000
                                        MY TELEPHONE # OF RECORD                                        LOCAL CO-COUNSELS TELEPHONE # OF RECORD
                                  19
                                       emily.barnet@wilmerhale.com                                      sonal.mehta@wilmerhale.com
                                  20    MY EMAIL ADDRESS OF RECORD                                      LOCAL CO-COUNSELS EMAIL ADDRESS OF RECORD

                                  21

                                  22            I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 5423066                                                         .
                                  24            A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26            I have been granted pro hac vice admission by the Court _______
                                                                                                        0       times in the 12 months
                                  27   preceding this application.
                                  28
                                             Case 3:22-cv-02646-LB Document 37 Filed 06/08/22 Page 2 of 3




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated:    06/02/2022                                           Emily Barnet
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                   ORDER GRANTING APPLICATION

                                   9                           FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of            Emily Barnet                 is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:       June 8, 2022

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                       Updated 11/2021                                   2
    Case 3:22-cv-02646-LB Document 37 Filed 06/08/22 Page 3 of 3




           Appellate Division of the Supreme Court
                   of the State of New York
                  First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                     Emily Jane Barnet
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on March 7, 2016,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                          In Witness Whereof, I have hereunto set
                          my hand in the City of New York on
                          March 30, 2022.




                                      Clerk of the Court




CertID-00059927
